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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION

MICHAEL MILES,

                      Plaintiff,
                                                            Case No. 18-cv-10491
v.                                                          Honorable Thomas L. Ludington

OSPREY OTSEGO PROPERTIES, L.L.C., et al,

                      Defendants.

_______________________________________/

     ORDER DISMISSING SHOW CAUSE AND DISMISSING DEFENDANT MISSION
            POINT OTSEGO OPERATING LLC WITHOUT PREJUDICE

       On February 12, 2018, Plaintiff Michael Miles filed a complaint against Defendants Osprey

Otsego Properties, L.L.C., and Mission Point Otsego Operating L.L.C. ECF No. 1. Plaintiff alleges

that the Defendants have violated the Americans with Disabilities Act. Defendant Mission Point

was served on February 14, 2018, and its answer was due on March 7, 2018. Defendant Osprey

Otsego was served on March 3, 2018, and its answer was due on March 26, 2018. Neither

Defendant have answered to date. On April 3, 2018, the Court ordered Plaintiff to show cause why

the case should not be dismissed for failure to prosecute. On April 26, 2018, Defendant Osprey

Otsego Properties answered. ECF No. 9. On May 7, 2018, Miles responded to the show cause by

indicating that he has been unable to confirm that Defendant Mission Point is an entity operating

in Michigan and seeking to dismiss that Defendant without prejudice. Based on that representation,

the order to show cause will be dismissed and Defendant Mission Point will be dismissed without

prejudice.

       Accordingly, it is ORDERED that the order to show cause, ECF No. 7, is DISMISSED.
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      It is further ORDERED that Defendant Mission Point Otsego Operating LLC is

DISMISSED without prejudice.




      Dated: May 11, 2018                                                  s/Thomas L. Ludington
                                                                           THOMAS L. LUDINGTON
                                                                           United States District Judge




                                              PROOF OF SERVICE

                     The undersigned certifies that a copy of the foregoing order was served
                     upon each attorney or party of record herein by electronic means or first
                     class U.S. mail on May 11, 2018.

                                                       s/Kelly Winslow
                                                       KELLY WINSLOW, Case Manager




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